        Case 1:24-cv-00356-RPK-PK Document 4-1 Filed 01/18/24 Page 1 of 1 PageID #: 14

AO 440 (Rev. 06/12) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                              for the
                                                  Eastern District
                                                __________         of of
                                                            District  New  York
                                                                         __________

                       KEN CHARLES                               )
                                                                 )
                                                                 )
                                                                 )
                              Plaintiff(s)
                                                                 )
                                                                 )
        v.                                                              Civil Action No. 1:24-cv-00356
                                                                 )
        STRONG TOWER CARPENTRY LLC ACE
        INDUSTRIES CONSTRUCTION LLC, and
                                                                 )
        ANTHONY CUCCINELLO                                       )
                                                                 )
                                                                 )
                           Defendant(s)                          )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) STRONG TOWER CARPENTRY LLC
                                       303 Wolfs Ln Suite 208,
                                       Village of Pelham, NY 10803




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Jason Solotaroff
                                       Giskan Solotaroff & Anderson
                                       90 Broad St, 2nd Floor
                                       New York, NY 10004



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

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                                                                           CLERK OF COURT


Date:    01/18/2024
                                                                                      Signature of Clerk or Deputy Clerk
